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                        Exhibit 2

               Winning Bidders by Property
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Sucessful Bidders

Bidder / Properties Purchased                                                                  Purchase Price


XPO, Inc.                                                                                      $870,000,000
Site #       Type          Street Address                  City              State     Zip
Y580         Owned         4500 W 65th Street              Little Rock       AR        72209
Y845         Owned         2859 W Valle Verde Drive        Nogales           AZ        85621
R600         Owned         4901 Lisa Marie Court           Bakersfield       CA        93313
Y894         Owned         3207 "F" Road                   Clifton           CO        81520
H403         Owned         4700 Highway 42                 Ellenwood         GA        30294
H337         Owned         72 Eastgate Drive               Danville          IL        61832
Y371         Owned         3700 78th Avenue West           Rock Island       IL        61201
Y324         Owned         1818 S High School Road         Indianapolis      IN        46241
Y183         Owned         7600 Preston Drive              Landover          MD        20785
Y347         Owned         12400 Dupont Avenue S           Burnsville        MN        55337
Y343         Owned         8989 E Columbus Court           Columbia          MO        65201
Y621         Owned         400 Barton Street               St. Louis         MO        63104
Y671         Owned         1255 NC Highway 66 S            Kernersville      NC        27284
Y878         Owned         5049 W Post Road                Las Vegas         NV        89118
H339         Owned         2700 Valley Pike                Dayton            OH        45404
Y857         Owned         5400 Fisher Road                Columbus          OH        43228
R849         Owned         4000 Hamrick Road               Central Point     OR        97502
Y635         Owned         10510 N Vancouver Way           Portland          OR        97217
Y135         Owned         100 Roadway Drive               Carlisle          PA        17015
Y152         Owned         2627 State Road                 Bensalem          PA        19020
H328         Owned         3705 Highway 321                West Columbia     SC        29172
H395         Owned         500 Oak Bluff Lane              Goodlettsville    TN        37072
Y435         Owned         88 E L Morgan Drive             Jackson           TN        38305
Y422         Owned         7300 Centennial Boulevard       Nashville         TN        37209
Y515         Owned         211 Dorset Drive                Sherman           TX        75092
Y336         Owned         3617 McIntyre Avenue            Eau Claire        WI        54703
Y187         Leased        1313 Grand Street               Brooklyn          NY        11211
Y521         Leased        9415 Wallisville Road           Houston           TX        77013
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Sucessful Bidders

Bidder / Properties Purchased                                                                  Purchase Price


Estes Express Lines                                                                                $248,720,505
Site #       Type          Street Address                  City              State     Zip
Y409         Owned         1901 Highway 20 West            Decatur           AL        35601
Y757         Owned         1400 SW 30th Avenue             Boynton Beach     FL        33426
Y414         Owned         4241 Interstate Drive           Macon             GA        31210
Y800         Owned         94-164 Leokane Street           Waipahu           HI        96797
Y389         Owned         1514 S Pierce Avenue            Mason City        IA        50401
Y860         Owned         2425 Bridgeport Drive           Sioux City        IA        51111
H419         Owned         24 Gateway Commerce             Edwardsville      IL        62025
H323         Owned         1100 Chaddick Drive             Wheeling          IL        60090
H357         Owned         2530 S Tibbs Avenue             Indianapolis      IN        46241
H262         Owned         27411 Wick Road                 Romulus           MI        48174
H385         Owned         8100 W Sandidge Road            Olive Branch      MS        38654
H329         Owned         5201 Sunset Road                Charlotte         NC        28213
Y140         Owned         9 Cote Lane                     Bedford           NH        3110
N114         Owned         2300 Garry Road                 Cinnaminson       NJ        8077
N118         Owned         7173 Schuyler Road              East Syracuse     NY        13057
H634         Owned         6650 Transit Road               Williamsville     NY        14221
Y205         Owned         66 Milens Road                  Tonawanda         NY        14150
Y266         Owned         7138 Northern Boulevard         East Syracuse     NY        13057
Y211         Owned         1275 Ohio Ave                   Copley            OH        44321
Y218         Owned         5250 Brecksville Road           Richfield         OH        44286
Y250         Owned         1505 Bowman Road                Lima              OH        45804
Y522         Owned         9018 Tuscany Way                Austin            TX        78754
Y180         Owned         17 Transport Park               Bellows Falls     VT        5101
Y188         Owned         199 Krupp Drive                 Williston         VT        5446
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Sucessful Bidders

Bidder / Properties Purchased                                                                         Purchase Price


Saia Motor Freight Line, LLC                                                                              $235,678,800
Site #        Type             Street Address                     City              State     Zip
R519          Owned            4556 S Chestnut Avenue             Fresno            CA        93725
Y177          Owned            26902 Bethel Concord Road          Seaford           DE        19973
Y684          Owned            4200 Wheeler Road                  Martinez          GA        30907
Y202          Owned            300 New Porter Pike                Bowling Green     KY        42103
Y348          Owned            5151 Charter Oak Drive             Paducah           KY        42001
Y186          Owned            464 Hartford Turnpike              Shrewsbury        MA        1545
H288          Owned            1830 Calkins Road                  Gaylord           MI        49735
Y272          Owned            2180 Chicago Drive SW              Wyoming           MI        49509
H388          Owned            200 32nd Avenue NW                 Owatonna          MN        55060
Y370          Owned            4425 W First Street                Duluth            MN        55807
N124          Owned            15 Thomas J. Rhodes Industrial     Mercerville       NJ        8619
N119          Owned            35 Transport Drive                 Rochester         NY        14623
H208          Owned            3140 Massillon Road                Akron             OH        44312
H346          Owned            10855 Market Street                N Lima            OH        44452
N102          Owned            3725 Pottsville Pike               Reading           PA        19605
H366          Owned            5409 National Avenue               Knoxville         TN        37914
Y557          Owned            8011 Killam Industrial Boulevard   Laredo            TX        78045


RAMAR Land Corporation                                                                                    $211,500,000
Site #        Type             Street Address                     City              State     Zip
Y184          Owned            316 New Churchmans Road            New Castle        DE        19720
Y303          Owned            1000 Chaddick Drive                Wheeling          IL        60090
H364          Owned            9711 State Avenue                  Kansas City       KS        66111
Y547          Owned            5575 E State Hwy 00                Strafford         MO        65757
Y531          Owned            8000 SW 15th Street                Oklahoma City     OK        73128
Y682          Owned            580 Shackelford Road               Piedmont          SC        29673
Y511          Owned            200 North Beltline Road            Irving            TX        75061
R527          Owned            4375 W 1385 S                      Salt Lake City    UT        84104


Terminal Properties, LLC                                                                                   $83,794,350
Site #        Type             Street Address                     City              State     Zip
H320          Owned            8601 W 53rd Street                 McCook            IL        60525
Y623          Owned            3511 Highway 421 N                 Wilmington        NC        28401
N130          Owned            6640 Transit Road                  Williamsville     NY        14221
Y104          Owned            37 Frontage Road                   Glenmont          NY        12077
Y688          Owned            2243 Wren Street                   Charleston        SC        29418
Y615          Owned            1313 Cavalier Boulevard            Chesapeake        VA        23323
Y313          Owned            6880 S Howell Avenue               Oak Creek         WI        53154
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Sucessful Bidders

Bidder / Properties Purchased                                                                   Purchase Price


Knight-Swift Transportation Holdings, Inc.                                                          $51,296,500
Site #         Type         Street Address                 City               State     Zip
Y314           Owned        780 W Birchwood Street         Morton             IL        61550
Y344           Owned        2620 N 36th Street             Quincy             IL        62301
H322           Owned        8901 N Kentucky Avenue         Evansville         IN        47711
Y246           Owned        3513 Adams Center Road         Fort Wayne         IN        46806
H358           Owned        1059 Hurst Road                Jackson            MI        49201
H548           Owned        2702 Newman Road               Joplin             MO        64801
Y650           Owned        555 Jeffreys Road              Rocky Mount        NC        27804
Y863           Owned        614 Third Avenue               Kearney            NE        68847
Y243           Owned        2801 Valley Pike               Dayton             OH        45404
Y290           Owned        300 Drag Strip Road            Belpre             OH        45714
R524           Owned        9501 24th Place West           Everett            WA        98204
H428           Owned        501 Spring Road                Mosinee            WI        54455
Y394           Owned        2573 Progress Road             Madison            WI        53716


Crown Enterprises, LLC                                                                              $38,189,000
Site #         Type         Street Address                 City               State     Zip
R858           Owned        1951 San Juan Drive            Lake Havasu City   AZ        86403
Y835           Owned        1814 N Main Street             Flagstaff          AZ        86004
Y625           Owned        2685 Sherwin Avenue            Ventura            CA        93003
Y728           Owned        2635 Rockfill Road             Fort Myers         FL        33916
Y471           Owned        12169 Old Gentilly Road        New Orleans        LA        70129
Y859           Owned        900 64th Street NW             Albuquerque        NM        87121
H290           Owned        95 Holland Drive               Gallipolis         OH        45631
Y851           Owned        1330 Henry Brennan Drive       El Paso            TX        79936


ArcBest Property Management, LLC                                                                    $30,200,000
Site #         Type         Street Address                 City               State     Zip
Y581           Owned        1543 Ford Avenue               Springdale         AR        72764
H375           Owned        6144 NE 22nd Street            Des Moines         IA        50313
H330           Owned        4800 Journal Street            Columbus           OH        43228


A. Duie Pyle, Inc.                                                                                  $29,400,000
Site #         Type         Street Address                 City               State     Zip
Y256           Owned        1575 Emerson Street            Rochester          NY        14606
N103           Owned        475 Terminal Road              Camp Hill          PA        17011
Y232           Owned        3111 McCain Avenue             Erie               PA        16510
Y220           Owned        6399 Saltwell Road             Bridgeport         WV        26330
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Sucessful Bidders

Bidder / Properties Purchased                                                                   Purchase Price


RLF IV Acquisitions, LLC                                                                            $20,915,000
Site #         Type          Street Address                 City              State     Zip
Y100          Owned          95 Concord Street              North Reading     MA        1864
Y143          Owned          750 County Line Road           Line Lexington    PA        18932
N105          Owned          2110 Plainfield Pike           Cranston          RI        2910


TForce Properties, Inc.                                                                             $15,960,000
Site #         Type          Street Address                 City              State     Zip
Y809          Owned          3210 52nd Avenue               Sacramento        CA        95823
Y245          Owned          460 Transport Court            Lexington         KY        40511


Skylark Logistics, Inc.                                                                             $7,950,000
Site #         Type          Street Address                 City              State     Zip
Y261          Owned          22701 Van Born Road            Taylor            MI        48180
Y251          Owned          4431 South Avenue              Toledo            OH        43615


United Holdings Group Inc.                                                                          $4,683,000
Site #         Type          Street Address                 City              State     Zip
Y555          Owned          111 Gembler Road               San Antonio       TX        78219
Y574          Owned          3230 Clay Avenue               Waco              TX        76711


Unis, LLC                                                                                           $2,443,500
Site #         Type          Street Address                 City              State     Zip
Y842          Owned          601 W Flores Street            Tucson            AZ        85705
Y685          Owned          3501 Edwin Avenue              Savannah          GA        31405


GPSS Holdings, LLC                                                                                  $9,850,000
Site #         Type          Street Address                 City              State     Zip
R871          Owned          3045 S 43rd Avenue             Phoenix           AZ        85009


Southeast Consolidators, Inc.                                                                       $8,500,000
Site #         Type          Street Address                 City              State     Zip
Y525          Owned          5501 Campus Drive              Fort Worth        TX        76140


Z Brothers Trucking, LLC                                                                            $4,207,000
Site #        Type           Street Address                 City              State     Zip
H332          Owned          10720 Memphis Avenue           Brooklyn          OH        44144
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Sucessful Bidders

Bidder / Properties Purchased                                                                  Purchase Price


JIOS Fund I Acquisitions, LLC                                                                     $3,050,000
Site #        Type           Street Address              City              State     Zip
Y172          Owned         9600 Express Lane            Richmond          VA        23237


Royal Group Holdings Inc.                                                                         $2,950,000
Site #       Type           Street Address               City              State     Zip
Y289          Owned         1187 Welford Place           Woodstock         ON        N4S 7Y5


MDHE Enterprises, LLC                                                                             $2,800,000
Site #      Type            Street Address               City              State     Zip
Y814          Owned         2440 E Church Avenue         Fresno            CA        93706


All Star Investments Inc.                                                                          $550,000
Site #         Type         Street Address               City              State     Zip
Y275          Owned         930 Route 147                Stanhope          PQ        J0B EC0
